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                                                                                                 p7


                                                                          Tuesday, January 5, 2021
VIA ECF
Honorable Judge Ona T. Wang
Daniel Patrick Moynihan
United States Courthouse for the Southern District of New York
500 Pearl St., Courtroom 20D
                                              MEMO ENDORSED
New York, New York 10007-1312


                                                     RE:     Collymore v. City of New York
                                                             16 CIV 8270 (LTS)(OTW)
Dear Honorable Judge Wang:

I respectfully write as an officer of the Court to request a stay of 60 days. I tested positive for
Covid-19 this afternoon and will be pursuing additional treatment. In my previous
correspondence to the Court, I identified pre-existing respiratory issues and other health
conditions. I am currently experiencing shortness of breath, difficulty speaking, debilitating
headaches, loss of smell and taste. As such, I will need time to recover and to pursue treatment.

        Consistent with my current health status, I respectfully ask the Court to allow me 30 days
to determine if I am able to resume litigation. If I am better, I will not need the full 60 days and
will notify the Court.

       In closing, I apologize for any inconvenience this may cause the Court and or Counsel. If
the Court deems it necessary, I can send a copy to the Court via email of the positive test results
for confirmation.

                                                Application granted; this action is STAYED until February
Respectfully submitted,                         2, 2021 without prejudice to renew. By January 22, 2021,
                                                Defendants are directed to submit a letter describing the
                                                status of discovery.
/s/
                                                The Court wishes Ms. Hagan a speedy and full recovery.
Special Hagan, Esq.
                                                ECF 153 resolved.
Attorney for Robin Collymore, Plaintiff
                                                SO ORDERED.
Cc     Dominique Saint Fort, Esq.
       Attorney for Defendants

                                               _____________
                                               Ona T. Wang January 11, 2021
                                               U.S.M.J.
